Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 1 of 11 PageID #: 5
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 2 of 11 PageID #: 6
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 3 of 11 PageID #: 7
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 4 of 11 PageID #: 8
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 5 of 11 PageID #: 9
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 6 of 11 PageID #: 10
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 7 of 11 PageID #: 11
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 8 of 11 PageID #: 12
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 9 of 11 PageID #: 13
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 10 of 11 PageID #: 14
Case: 4:11-cv-01769-JCH Doc. #: 1-1 Filed: 10/12/11 Page: 11 of 11 PageID #: 15
